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USDC SDNY

UNITED STATES DISTRICT COURT DOCUMENT

SOUTHERN DISTRICT OF NEW YORK ELECTRONICALLY FILED
DOC #:

SECURITIES AND EXCHANGE COMMISSION, DATE FILED: _6 ~2%-2023

Plaintiff,

23 Civ. 5326 (LAK)
-against-

LEGEND VENTURE PARTNERS LLC,

Defendant.

[PROPOSED] ORDER IMPOSING PRELIMINARY INJUNCTION
AND OTHER RELIEF

WHEREAS the Securities and Exchange Commission (the “Commission”) filed this action
on June 22, 2023, against Defendant Legend Venture Partners LLC (“Legend” ot “Defendant”;

WHEREAS the Commission filed an emergency application for an ordet to show cause,
temporary restraining order, and preliminary injunction including an asset freeze, receiver, and other
relief on June 22, 2023 (Dts, 6-15) (the “Emergency Application”);

WHEREAS Legend entered a notice of appearance on June 22, 2023, and responded to the
Emergency Application on June 26, 2023 (Dkts. 22-24);

WHEREAS the Commission filed its reply brief in farther support of the Emergency
Application on June 27, 2023 (Dkt. No. 25);

WHEREAS the Court has subject matter jurisdiction over this action pursuant to Section
22{a) of the Securities Act of 1933 (“Securities Act”) [15 U.S.C. § 77v{a)], Sections 27 of the
Securities Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. § 78a], and Section 214(a) of the

investment Advisers Act of 1940 (“Advisers Act”) [15 U.S.C. § 80b-14{a)];

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WHEREAS venue is proper in this District pursuant to Securittes Act Section 22(a) [15
U.S.C. § 77v(a)], Exchange Act Section 27 [15 U.S.C. § 78aa], and Advisers Act Section 214 [15
U.S.C. § 80b-14];

WHEREAS the Court has considered the record on the Emetgency Application and finds
that, based upon that record, the Commission has made a proper showing, as requited by
Securities Act Section 20(b), Exchange Act Section 21(d)(1), and Advisers Act Section 209(d) for the
reHef set forth herein;
NOW THEREFORE:

E

IT 1s HEREBY ORDERED that, pending final disposition of this action, Defendant ts
restrained and enjoined from violating Securities Act Section 17(a} [15 U.S.C. § 77q(a)], in the offer
or sale of any security by the use of any means of instruments of transportation or communication
in interstate commerce or by use of the mails, directly or indirectly:

{a) to employ any device, scheme, or artifice to defraud;

(b) to obtain money or property by means of any untrue statement of a material fact ot
any omission of a material fact necessary in order to make the statements made, in
light of the citcutnstances under which they were made, not misleading; or

(c) to engage in any transaction, practice, or course of business which operates or would
operate as a fraud or deceit upon the purchaser.

IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure

65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this Order by

personal service or otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys;

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and (b) other persons in active concert of participation with Defendant or with anyone described in
(a).
IE.

IT IS FURTHER ORDERED that, pending final disposition of this action, Defendant ts
restrained and enjoined from violating Exchange Act Section 10(b) [15 U.S.C. § 78)(b)] and Rule
10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of
interstate commerce, or of the mails, ot of any facility of any national securities exchange, in
connection with the purchase ot sale of any secutity:

(a) to employ any device, scheme, ot artifice to defraud,

(b) to make any untrue statement of a material fact ot to omit to state a material fact
necessary in order to make the staternents made, in the light of the circumstances
under which they were made, not misleading; or

(c} to engage in any act, practice, or course of business which operates or would operate
as a fraud or deceit upon any person.

IT IS FURTHER ORDERED that, as provided tn Federal Rule of Civil Procedure
65(d)(2), the foregoing paragraph also binds the following who teceive actual notice of this Order by
personal service or otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys;
and (b) other persons in active concert or participation with Defendant or with anyone described in
(a).

HI.

IT 1S FURTHER ORDERED that, pending final disposition of this action, Defendant is

restrained and enjoined from violating Advisers Act Section 206 [15 U.S.C. § 80b-6] and Rule

206(4)-8 promulgated thereunder [17 C.F.R. § 275.206(4)-8], by, while acting as an investment
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adviser, using any means or instrumentalities of interstate commerce, or any Means or instruments
of transportation or communication in interstate commerce, or by the mails or any facility of any
national securities exchange:

(a) to employ any device, scherne, or artifice to defraud any client or prospective client;

(b) to engage in any transaction, practice, or course of business which operates as a
fraud or deceit upon any client or prospective client;

{c) acting as principal for his own account, knowingly to sell any security to or purchase
any security from a client, or acting as broker for a person other than such client,
knowingly to effect any sale or purchase of any security for the account of such
client, without disclosing to such client in writing before the completion of such
transaction the capacity in which it is acting and obtaining the consent of the client
to such transaction; or

(d) to engage in any acts, practices, or courses of business which are fraudulent,
deceptive, or manipulative.

IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedute
65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this Order by
personal service or otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys;
and (b) other persons in active concert or participation with Defendant or with anyone described in
(a).

Ty.

IT IS FURTHER ORDERED that, pending final disposition of this action, Defendant ts

restrained and enjoined from violating Securities Act Sections 5(a) and 5(c) [15 U.S.C. §§ 77e(a) and

(c)] by, directly or indirectly, in the absence of any applicable exemption:

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(a} Unless a registration statement is in effect as to a security, making use of any means
of instruments of transportation or communication in interstate commerce or of the
mails to sell such security through the use or medium of any prospectus ot
otherwise; ot carrying or causing to be carried through the mails or in interstate
commerce, by any means or instruments of transportation, any such security for the
purpose of sale or for delivery after sale; or

(b) Making use of any means or instruments of transportation or communication in
interstate commerce or of the mails to offer to sell or offer to buy through the use or
medium of any prospectus or otherwise any security, unless a registration statement
has been filed with the Commission as to such security, or while the registration
statement is the subject of a refusal order or stop order or (prior to the effective date
of the registration statement) any public proceeding or examination under Securities
Act Section 8 [15 U.S.C. § 77h].

IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure
65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this Order by
personal service or otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys;
and (b) other persons in active concert or participation with Defendant or with anyone described in
(a).

Vv.

IT IS FURTHER ORDERED that, pending final disposition of this action, Defendant is
temporarily restrained from violating Exchange Act Section 15(a)(1) [15 U.S.C. § 780(a)(1}} by
making use of the mails or any means or instrumentality of interstate commerce to effect any

transactions in, or to induce or attempt to induce the purchase or sale of, any security (other than an

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exempted security or commercial paper, bankers’ acceptances, or commercial bills) unless registered
as a broker or dealer in accordance with subsection Exchange Act Section 15(b) [15 U.S.C.
§ 780(b)).

IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure
65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this Order by
personal service or otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys;
and (b) other persons in active concert or participation with Defendant or with anyone described in
(a).

VI.

IT IS FURTHER ORDERED that, pending the earlier of the appointment of a receiver,
ifany, over Legend and Legend Ventures Fund 1 LLC, Legend Ventures Fund 2 LLC, Legend
Ventures Fund 3 LLC, Legend Ventures Fund 4 LLC, and Legend Ventures Fund 5 LLC
(collectively, the “Legend Funds”) or final disposition of this action, Defendant and each of its
officers, agents, servants, employees and attorneys and those persons in active concert or
participation with it who receive actual notice of this Order by personal service or otherwise shall
hold and retain funds and other assets constituting assets of Legend and the Legend Funds that are
presently held by them, for their direct or indirect benefit, under their direct or indirect control or
over which they exercise actual or apparent investment or other authority, in whatever form such
assets may presently exist and wherever located, and shall prevent any withdrawal, sale, payment
fincluding, but not limited to, any charges on any credit card or draws on any other credit

attangement), transfer, dissipation, assignment, pledge, alienation, encumbrance, disposal, or

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diminution in value of any such funds or other assets, which are hereby frozen, including, but not
limited to, such funds held in the accounts listed on Exhibit A.!
Vil.

IT IS FURTHER ORDERED that, pending the earlier of the appointment of a receiver,
if any, over Legend and the Legend Funds or final disposition of this action, all banks, brokerage
and other financial institutions and other persons or entities which recetve actual notice of this
Order by personal service or otherwise, holding any funds or other assets in the name, for the direct
ot indirect benefit, or under the direct or indirect control of Legend or the Legend Funds or over
which they exercise actual or apparent investment or other authority, in whatever form such assets
may presently exist and wherever located, including but not limited to all such funds held in the
accounts listed in Exhibit A, shall hold and retain within their control and prohibit the withdrawal,
removal, sale, payment (including, but not limited to, any chatges on any credit card or draws on any
other credit arrangement), transfer, dissipation, assignment, pledge, alienation, encumbrance,
diminution in value, or other disposal of any such funds or other assets; and that such funds and
assets are hereby frozen.

VITi.

IT IS FURTHER ORDERED that no person or entity, including any creditor or claimant
against Legend the Legend Funds, or any person acting on behalf of such creditor or claimant, shall
take any action to interfere with the taking control, possession, or management of the assets,
including, but not limited to the filing of any lawsuits, liens or encumbrances or bankruptcy cases to

impact the property and assets of Legend or the Legend Funds.

'The Commission is authorized to transmit a version of Exhibit A that contains the full bank
account numbers subject to this Order to the relevant financial institutions listed on Exhibit A.

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IX.

IT IS FURTHER ORDERED that Defendant setve upon the Commission, within five
business days, ot within such extension of time as the Commission agrees to in writing or that the
Court grants upon request, a verified written accounting identifying (i) the current assets, money,
and property held directly or indirectly by the Legend and the Legend Funds or by others for the
direct or indirect beneficial interest of Legend and the Legend Funds; and (i) the use of all investor
funds raised by Legend and the Legend Funds. Defendant shall serve such sworn statement on the

Commission’s counsel, Daniel Loss, by email sent to Loss D@sec.gov.

X.

IT IS FURTHER ORDERED that Defendant, and any person or entity acting at its
direction or on its behalf, are restrained and enjoined from destroying, altering, concealing, or
otherwise interfering with the access of the Commission to any and all documents or books and
records that ate in the possession, custody or control of Defendant, and each of its officers, agents,
employees, servants, accountants, financial or brokerage institutions, attorneys-in-fact, subsidiaries,
affiliates, predecessors, successors and related entities, that refer, reflect or relate to the allegations in
the Complaint, including, without limitation, documents, books, and records referring, reflecting or

relating to Legend of the Legend Funds’ finances or business operations.
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XI.
IT 1S FURTHER GRDERED thar this Order shail be, and is, binding spon Detcndiny,
and each ofits respective officers, agents, serviars, emp plovees, attorners-an-fact, subsidies,
alhiates and those persons. inactive concert or participation with them who recerve act nd aatice of

this Order by personal service, facsimile service, or otherwise.

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l SE ot ihe ‘DS “i fon. Lewis A. Kaplan “
United Srates Distrer Tule

